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                      Exhibit A
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                                   Texas v. Biden Monthly Report
                       Reporting Period: February 1, 2022 – February 28, 2022


(1) The total monthly number of encounters1 at the southwest border (SWB);

Encounter data includes U.S. Border Patrol (USBP) Title 8 Apprehensions2 between the ports of entry along the
SWB, Office of Field Operations (OFO) Title 8 Inadmissibles3 at land ports of entry along the SWB, and Title
42 Expulsions4 at and between the ports of entry along the SWB.


                    February 2022 as of March 3, 2022                 Title 42     Title 8     Total Encounters
                    Office of Field Operations                            2,269      4,572                    6,841
                      El Paso Field Office                                  153        584                      737
                      Laredo Field Office                                 1,140      1,649                    2,789
                      San Diego Field Office                                719      2,021                    2,740
                      Tucson Field Office                                   257        318                      575
                    U.S. Border Patrol                                   89,244     68,888                  158,132
                      Big Bend Sector                                     2,427        580                    3,007
                      Del Rio Sector                                     15,611     14,869                   30,480
                      El Centro Sector                                    3,501      2,187                    5,688
                      El Paso Sector                                     12,154      8,460                   20,614
                      Laredo Sector                                       8,740        758                    9,498
                      Rio Grande Valley Sector                           16,681     17,157                   33,838
                      San Diego Sector                                   10,569      2,908                   13,477
                      Tucson Sector                                      17,703      3,498                   21,201
                      Yuma Sector                                         1,858     18,471                   20,329
                    Grand Total                                          91,513     73,460                  164,973




1
  The sum of Title 8 apprehensions/inadmissible aliens and expulsions.
2
  Apprehension refers to the physical control or temporary detainment of a person who is not lawfully in the U.S. which may or may
not result in an arrest.
3
  Inadmissible refers to individuals encountered at ports of entry who are seeking lawful admission into the United States but are
determined to be inadmissible, individuals presenting themselves to seek humanitarian protection under our laws, and individuals who
withdraw an application for admission and return to their countries of origin within a short timeframe.
4
  Expulsions refers to individuals encountered by USBP and OFO and expelled to the country of last transit or home country in the
interest of public health under Title 42 U.S.C. 265.

                                                                 1
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(2) The total monthly number of aliens expelled under Title 42, Section 1225, or under any other statute;

            Title 42 expulsions at and between the ports of entry along the SWB5
                                       February 2022 as of March 3, 2022                Title 42
                                       Office of Field Operations                         2,269
                                         El Paso Field Office                                153
                                         Laredo Field Office                              1,140
                                         San Diego Field Office                              719
                                         Tucson Field Office                                 257
                                       U.S. Border Patrol                                89,244
                                         Big Bend Sector                                  2,427
                                         Del Rio Sector                                  15,611
                                         El Centro Sector                                 3,501
                                         El Paso Sector                                  12,154
                                         Laredo Sector                                    8,740
                                         Rio Grande Valley Sector                        16,681
                                         San Diego Sector                                10,569
                                         Tucson Sector                                   17,703
                                         Yuma Sector                                      1,858
                                       Grand Total                                       91,513

            Southwest Land Border Removals/Returns under Title 8, based on encounter date6
                  Total Removals and Returns Under Title 8
                  U.S. Border Patrol                                            6,723
                                     7
                    Bag and Baggage                                                66
                                     8
                    Voluntary Return                                            2,687
                    Expedited Removal                                           1,767
                    Reinstatement of Removal                                    1,714
                    Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)                  489
                  Office of Field Operations                                    1,612
                    Bag and Baggage                                                 1
                    Voluntary Return                                               52
                    Expedited Removal                                             423
                    Reinstatement of Removal                                        4
                    Withdrawal of Application for Admission                     1,132
                    Returns Pursuant to 8 U.S.C. § 1225(b)(2)(C)
                  Grand Total                                                   8,335

5
  Same as Title 42 expulsion data provided in response to 1 above.
6
  Indicates that the noncitizen was encountered during the reporting period (February 1, 2022 – February 28, 2022).
7
  When a noncitizen encountered or apprehended by CBP has been previously ordered removed by an immigration judge and the order
was never executed (i.e., in absentia). The removal order may be immediately executed by CBP or CBP may turn the noncitizen over
to ICE for removal.
8
  Constitutes a request by a non-citizen to be permitted to return to their country of citizenship on a voluntary basis, in lieu of being
formally removed or placed into removal proceedings.

                                                                   2
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(3) Defendants’ total detention capacity as well as current usage rates;

         OFO Holding Capacity – Southwest Border in Custody9
                Detention Capacity      February 2022
                        935              194 (20.8%)10

         USBP Average Daily Subjects In Custody by Southwest Border Sector11
                USBP Sector      February 2022
                Big Bend                       22
                Del Rio                     1,194
                El Centro                     266
                El Paso                     1,264
                Laredo                        635
                Rio Grande                  2,548
                San Diego                     574
                Tucson                        328
                Yuma                        1,135
                Total                       7,966




9
  Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied
by the total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances
that may limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it
reflect operational limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities
depends on many factors, including: demographics of the individual in custody; medical or other needs of individuals in custody;
ability of ICE ERO (or, if an unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of
CBP custody; and OFO's available resources to safely process and hold individuals.
10
   Represents the average number of travelers in custody on a daily basis averaged over the number of days in the calendar month, at
all Southwest Border Field Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees,
and United States Citizens who are being detained to verify wants, warrants, criminal, administrative or other judicial process.
11
   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing
and transfer of individuals encountered by agents. Maximum facility capacity along the southwest border is approximately 5,000,
which assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on
characteristics of in-custody population, to include demographics, gender, criminality, etc. The average percentage of subjects in
custody on a daily basis is 161%, which is averaged over the number of days in the calendar month and includes all Southwest Border
Sector locations.
                                                                    3
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(4) The total monthly number of “applicants for admission”12 under Section 1225;

                    February 2022 as of March 3, 2022                          Title 8
                    Office of Field Operations                                            4,572
                      El Paso Field Office                                                  584
                      Laredo Field Office                                                 1,649
                      San Diego Field Office                                              2,021
                      Tucson Field Office                                                   318
                    U.S. Border Patrol                                                   68,888
                      Big Bend Sector                                                       580
                      Del Rio Sector                                                     14,869
                      El Centro Sector                                                    2,187
                      El Paso Sector                                                      8,460
                      Laredo Sector                                                         758
                      Rio Grande Valley Sector                                           17,157
                      San Diego Sector                                                    2,908
                      Tucson Sector                                                       3,498
                      Yuma Sector                                                        18,471
                    Grand Total                                                          73,460


(5) The total monthly number of “applicants for admission” under Section 1225 paroled into the United
    States; and
                      Southwest Border Paroles                                           February 2022 Paroles

                      U.S. Border Patrol                                                                        8,565
                        Parole Disposition                                                                      8,565
                      Office of Field Operations                                                                3,140
                        NTA and Paroled into the U.S. on a case-by-
                                                                                                                2,361
                        case basis pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                        779
                      Grand Total                                                                             11,705




12
  An applicant for admission is defined as “[a]n alien present in the United States who has not been admitted or who arrives in
the United States (whether or not at a designated port of arrival and including an alien who is brought to the United States after having
been interdicted in international or United States waters).” 8 U.S.C. § 1225(a)(1). Thus, an applicant for admission may include
noncitizens that have never been encountered by CBP. At this time, CBP does not have a mechanism to track all applicants for
admission in the United States that are not encountered by CBP. CBP has included the same data as the Title 8 encounter data
provided in response to 1 above.

                                                                    4
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(6) The total monthly number of “applicants for admission” under Section 1225 released into the United
    States, paroled or otherwise.”13


                      Southwest Border Releases                                                         February 2022 Releases

                      U.S. Border Patrol                                                                                        35,929
                        Notice To Report14
                        Notice to Appear - Order of Release on Recognizance                                                     27,364
                        Parole Disposition                                                                                       8,565
                      Office of Field Operations                                                                                 3,140
                        NTA and Paroled into the U.S. on a case-by-case basis
                                                                                                                                 2,361
                        pursuant to 8 U.S.C. § 1182(d)(5)
                        Parole Disposition                                                                                         779
                      Grand Total                                                                                               39,069




13All numbers in reporting requirement 6 are “based on encounter date,” as defined above.
14Individuals who are screened by CBP, and after criminal and immigration records checks are conducted to determine if the subject is a threat to
national security or public safety, are then released and instructed to report to U.S. Immigration and Customs Enforcement (ICE) for continued
processing.
                                                                         5
